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                               UNITED STATES       16-3
                                             DISTRICT    Filed 05/06/25
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                        WESTERN DISTRICT OF PENNSYLVANIA

 NGBO BONNY E-HOME CO.,                            Case No. 2:24-cv-00568
         LTD.
                                                   (Proposed) ORDER

          Plaintiff,
              v.

ONDWAY, POOLCLEAN US
STORE, USA WAREHOUSE,
OWANJIE, INPOOL US STORE,
   DEWFOND, DIGIGER,
 OTOBUDDY STORE, and et al.
   Individual, Partnerships
        Defendants.


                                           ORDER

  Plaintiff Ningo Bonny eHome Co Ltd has moved pursuant to 35 U.S.C. § 283, Federal
  Rules of Civil Procedure 64 and 65, for entry of a temporary restraining order and an
  order restraining assets and Merchant Storefronts, for violations of the Patent Act for the
  protection on their design of a pool brush ("Plaintiff's Product").

  Because Plaintiff has satisfied the requirements for the issuance of a temporary
  restraining order, and good cause is shown, the Court grants Plaintiff's Application.
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             FACTUAL FINDINGS & CONCLUSION OF LAW
1. Plaintiff, Ningo Bonny eHome Co Ltd. is likely to prevail on its Patent Act
claim at trial.

2. Plaintiffs Product is the subject of a design patent entitled "Pool Brush” and
registered as U.S, Patent No, D 985,947S ("Plaintiff's Patent").

 3. Plaintiff incorporated its patented design into a product and successful
developed as commercially viable in the Internet. Plaintiff launched product
sales in 2020 on the Amazon marketplace .The unique design of Plaintiffs
product was reflected in successful sales on the Internet, largely on the Amazon
marketplace, until Defendants entered the market in 2022 with infringing
products, largely also in the Amazon marketplace.

4.Defendants, by operating Internet based e-commerce stores, and fully
interactive, commercial Internet websites operating under Defendants'
respective seller identities set forth on Exhibit 8 to the Complaint have
advertised, promoted, sold, and offered for sale that infringes Plaintiff's Patent
and causes damage to Plaintiff.

5, Defendants have largely been selling on the Amazon marketplace, like
Plaintiffs. Through the Amazon Marketplace and e-commerce marketplace
platforms, Plaintiff accessed all of the e-commerce stores operating under
Defendants' Seller IDs and captured the Defendants' listings at issue on the e-
commerce stores. These were inspected by Plaintiff and confirmed that each
Defendant is offering for sale products that infringe Plaintiff's Patent
("Infringing Products").
6.Plaintiff is likely to suffer immediate and irreparable losses, damages and
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injuries before Defendants can be heard in opposition, unless Plaintiff's
Application for relief is granted. There is good cause to believe that the
unauthorized and unlicensed offering for sale and sale of Infringing Products
will continue in the marketplace, that consumers are likely to be misled,
confused, and disappointed by the quality of the products so advertised, and
that Plaintiff may suffer loss of sales for its genuine products and an unnatural
erosion of the legitimate marketplace in which they operate. There is also good
cause to believe that if Plaintiff proceeds on notice to Defendants of this
Application, Defendants can easily and quickly change the ownership or
modify e-commerce store account data and content, change payment accounts,
redirect consumer traffic to other seller identification names, and transfer
assets and ownership of Seller IDs, thereby thwarting Plaintiff's ability to
obtain meaningful relief.

7. The balance of potential harm to Defendants of being prevented from
continuing to profit from their infringing activities if a temporary restraining
order is issued is far outweighed by the potential harm to Plaintiff, its
reputation, and its goodwill as a manufacturer and distributor of quality
products, if such relief is not issued.

8. The public interest favors issuance of the temporary restraining order in
order to protect Plaintiff's interests and protect the public from being deceived
and defrauded by Defendants

9. Under Pennsylvania law this Court may issue a prejudgment asset restraint
where Plaintiff's complaint asserts a claim for money damages. Therefore, this
Court has the authority to grant Plaintiff's request for a prejudgment asset
freeze to preserve the relief sought by Plaintiff and preserve the Defendants'
ability to at least partially satisfy a judgment.
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                      I. Temporary Restraining Order

A. IT IS HEREBY ORDERED, as sufficient cause has been shown, that each
Defendant, its officers, directors, employees, agents, subsidiaries, distributors,
and all persons in active concert or participation with any Defendant having
notice of this Order are hereby restrained as follows:

(1) from (a) their unauthorized and unlicensed use of Plaintiff's Patent,
distribution, marketing, advertising, offering for sale, or sale of any Infringing
Products; and (b) shipping, delivering, holding for sale, transferring or
otherwise moving, storing, distributing, returning, or otherwise disposing of, in
any manner products that infringe upon at least one claim of the Plaintiff's
Patent;

(2) from secreting, concealing, destroying, altering, selling off, transferring or
otherwise disposing of and/or dealing with any computer files, data, business
records, documents or any other records or evidence relating to their User
Accounts, Merchant Storefronts or any money, securities or other property or
assets of Defendants (hereinafter collectively referred to as "Defendants
Assets");

(3) effecting assignments or transfers, forming new entities or associations, or
creating and/or utilizing any other platform, User Account, Merchant Storefront
or any other means of importation, exportation, advertising, marketing,
promotion, distribution, and/or display for the purposes of circumventing or
otherwise avoiding the prohibitions set forth in this Order;
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(4) each Defendant, its officers, directors, employees, agents, subsidiaries,
distributors, and all persons in active concert or participation with any
Defendant having notice of this Order shall immediately cease offering for
sale the Infringing Products within metatags or other markers within website
source code, from use on any web page (including as the title of any product
listing), from any advertising links to other websites, from search engines'
databases or cache memory, and any other form of use such terms or works
which is visible to a computer user or serves to direct computer searches to
Internet based e-commerce stores owned, or operated by each Defendant,
including the Merchant Storefronts operating under the Seller IDs;

(5) each Defendant shall not transfer ownership of the User Accounts or
Merchant Storefronts associated with the Seller IDs;

(6) each Defendant shall preserve copies of all computer files relating to the
use of any User Accounts and/or Merchant Storefronts under the Seller IDs
and shall take steps necessary to retrieve computer files relating to the use of
the User Accounts and/or Merchant Storefronts under their Seller IDs that may
been deleted before the entry of this Order;
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(7) upon receipt of notice of this Order, Defendants and all financial
institutions, payment processors, banks, escrow services, money transmitters,
or marketplace platforms, including but not limited to Amazon Services, LLC
d/b/a Amazon.com, and Amazon Payments, Inc. d/b/a Amazon Pay and,
PayPal, Inc. d/b/a paypal.com. ("Financial Institutions,") and their related
companies and affiliates, shall immediately identify and restrain all funds, as
opposed to ongoing account activity, in or which are hereafter transmitted into
the accounts related to the Defendants as identified on Schedule "A" hereto, as
well as all funds in or which are transmitted into (i) any other accounts of the
same customer(s); (ii) any other accounts which transfer funds into the same
financial institution account(s), and/or any of the other accounts subject to this
Order; and (iii) any other accounts tied to or used by any of the Seller IDs
identified on Schedule "A" hereto;

(8) upon receipt of notice of this Order, Defendants and all financial
institutions, payment processors, banks, escrow services, money transmitters,
or marketplace platforms, including but not limited to the Third Party Service
Provider(s) and the Financial Institution(s) shall immediately divert to a
holding account for the trust of the Court all funds in or which are hereafter
transmitted into all accounts related to Defendants identified in Schedule "A"
hereto, and associated payment accounts, and any other accounts for the same
customer(s) as well as any other accounts which transfer funds into the same
financial institution account(s) as any other accounts subject to this Order;
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(9) The Third-Party Service Provider(s) and Financial Institution(s) shall
further, within five (5) business days of receiving this Order, provider
Plaintiff's counsel with all data that details (i) an accounting of the total funds
restrained and identifies the financial account(s) which the restrained funds are
related to, and (ii) the account transactions related to all funds transmitted into
financial account(s) which have been restrained. Such restraining of the funds
and the disclosure of the related financial institution account information shall
be made without notice to the account holders, until after those accounts are
restrained. No funds restrained by this Order shall be transferred or
surrendered by any Third-Party Service Provider or Financial Institution
for any purpose (other than pursuant to a chargeback made pursuant to that
Third Party Service Provider or Financial Institution's security interest in the
funds) without express authorization of this Court;

(10) Upon Plaintiff's request, any Internet marketplace who is provided with
notice of this Order, including but not limited to the Third-Party Service
Provider(s) and Financial Institution(s), shall immediately cease fulfillment of
and sequester Defendants' inventory assets corresponding to the Seller IDs
identified on Schedule "A" hereto in its inventory, possession, custody, or
control, and hold such goods in trust for the Court during pendency of this
action;

(11) This Order shall apply to the Seller IDs, associated Accounts and
Merchant Storefronts, and any other seller identification names, Accounts or
Merchant Storefronts, Third Party Service Provider or Financial Institution
accounts which are being used by Defendants for the purpose of infringing on
at least one claim of the Plaintiff's Patent;
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(12) Defendants and all financial institutions, payment processors, banks,
escrow services, money transmitters, or marketplace platforms, including but
not limited to the Third-Party Service Provider(s) and the Financial
Institution(s), subject to this Order may petition the Court to modify the asset
restraint set out in this Order; and (13) this Order shall remain in effect until
the date for the hearing to show cause why a preliminary injunction should not
be issued as set forth below, or until such further dates as set by the Court or
stipulated by the parties.
B. IT IS HEREBY ORDERED, as sufficient cause has been shown, that upon
Plaintiff's request, any Internet marketplace who is provided with notice of this
Order, including but not limited to the Third-Party Service Providers and
Financial Institutions, is hereby restrained and enjoined from engaging in any
of the following acts or omissions pending the hearing and determination of
Plaintiff's Application for a preliminary injunction, or until further order of the
Court:

(1) secreting, concealing, transferring, disposing of, withdrawing,
encumbering or paying Defendants' Assets from or to financial accounts
associated with or utilized by any Defendant or any Defendant's User
Accounts or Merchant Storefront(s) (whether said account is located in the
U.S. or abroad) ("Defendants' Financial Accounts") until further ordered by
this Court; and
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(2) within five (5) days after receiving notice of this Order, providing services
to Defendants, Defendants' User Accounts and Defendants' Merchant
Storefronts, including, without limitation, continued operation of Defendants'
User Accounts and Merchant Storefronts, and any other listings linked to the
same sellers or linked to any other alias seller identification names being used
and/or controlled by Defendants.
C. IT IS HEREBY ORDERED, as sufficient cause has been shown, that, upon
Plaintiff's request, within no later than five (5) calendar days of Plaintiff's
request:

(1) Amazon.com, Inc., and its related companies and affiliates, including
Amazon Services, LLC, and Amazon Payments, Inc. (collectively "Amazon"),
are hereby restrained and enjoined, pending the hearing and determination of
Plaintiff's Application for a preliminary injunction, or until further order of the
Court, from processing payments for any products for any products listed under
the   following    Amazon      Standard    Identification    Numbers     ("ASINs):
B0C3HQGXB1;           B0C1BYLN4Q;           B0C1C1C1XT;           B0BQJM1DVM;
B0C1BZ72XX;             B0BXKPZQM8;            B0BXKVNJZP;           B0BZ3C292B;
B0BYZHNFPH;            B0BQJMHV5K;            B0C2K98FVF;            B0C6JVCNT8;
B0C6JVPTRL; BOCDGJVMBN; BOCDGJJ36K by any Seller that has not
been authorized by Plaintiff; Plaintiff shall provide notice to Amazon of
Plaintiff's authorized that has not been authorized by Plaintiff; Plaintiff shall
provide notice to Amazon of Plaintiff's authorized sellers;

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(3) Upon Plaintiff's request, Amazon.com, Inc., and its related companies and
affiliates, including Amazon Services, LLC, and Amazon Payments, Inc., shall
take down listings and/or advertisements for any for any products listed under
the following Amazon Standard Identification Numbers ("ASINs):
B0C3HQGXB1; B0C1BYLN4Q; B0C1C1C1XT; B0BQJM1DVM;
B0C1BZ72XX; B0BXKPZQM8; B0BXKVNJZP; B0BZ3C292B;
B0BYZHNFPH; B0BQJMHV5K; B0C2K98FVF; B0C6JVCNT8;
B0C6JVPTRL; BOCDGJVMBN; BOCDGJJ36K by any Seller that has not
been authorized by Plaintiff; Plaintiff shall provide notice to Amazon of
Plaintiff's authorized that Plaintiff identifies as infringing on at least one claim
of the Plaintiff's Patent (i.e., preventing a seller from listing for sale under the
identified ASIN);

(4) Upon Plaintiff's request, a Third-Party Service Provider shall remove
listings and/or advertisements for any product that infringes on at least one
claim of the Plaintiff's Patent; and

(5) this Order shall remain in effect during the pendency of this action or until
further order of the Court.
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II. Order to Show Cause Why a Preliminary Injunction Should Not Issue
                            and Service of Order

A. Defendants are hereby ORDERED to show cause before this Court in the
  United States District Court for the Western District of Pennsylvania, via
ZoomGov videoconference on _____. why a preliminary injunction, pursuant
  to FRCP 65(a), should not issue. Defendants are on notice that failure to
appear at the hearing may result in the imposition of a preliminary injunction
                                against them.

 B. Opposing papers, if any, shall be filed electronically with the Court and
  served on Plaintiff's counsel by delivering copies thereof to the office of
    before_____ Plaintiff shall file any Reply papers on or before______
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C. After Plaintiff's counsel has received confirmation from the Third Party
Service Providers and Financial Institutions or otherwise, regarding the
restraint of funds directed herein, Plaintiff shall serve copies of the Complaint,
the Application, this Order, and any Discovery on each Defendant via their
corresponding email/online contact form provided on the Internet based e-
commerce stores operating under the respective Seller IDs, or by providing a
copy of this order by e-mail to the marketplace platform, which in turn notifies
each Defendant of the Order, or by other means reasonably calculated to give
notice which is permitted by the Court. In addition, Plaintiff shall post copies
of the Complaint, Application, this Order, any Discovery, and all other
pleadings and documents filed in this action on website designated by
Plaintiff, WWW.raychaniplaw.com and shall provide the website address to
Defendants via e-mail/online contact form, and such notice so given shall be
deemed good and sufficient service thereof. Plaintiff shall continue to provide
notice of these proceedings and copies of the documents on file in this matter
to Defendants by regularly updating the website designated by Plaintiff or by
other means reasonably calculated to give notice which is permitted by the
Court.




                                 Security Bond
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IT IS FURTHER ORDERED that Plaintiff shall place security (corporate
surety bond, cash, certified check, or attorney's check) in the amount of $5000
Dollars (Five Thousand Dollars) with the Court, which amount is determined
adequate for the payment of any damages any person may be entitled to
recover as a result of an improper or wrongful restraint ordered hereunder.

As defined in the Complaint, a "User Account" is any and all accounts with
online marketplace platform, including, Amazon.com, eBay.com,
aliexpress.com, Walmart.com, and wish.com, as well as any and all as yet
undiscovered accounts with additional online marketplace platforms held by
or associated with Defendants, their respective officers, employees, agents,
servants and all other persons in active concert with any of them. A
"Merchant Storefront" is any and all User Accounts through which
Defendants, their respective officers, employees, agents, servants and all
persons in active concert or participation with any of them operate storefronts
to manufacture, import, export, advertise, market, promote, distribute, display,
offer for sale, sell and/or otherwise deal in products which are held by or
associated with Defendants, their respective officers, employees, agents,
servants and all persons in active concert or participation with any of them.




                                 VI. Summons

 IT IS FURTHER ORDERED that the Clerk of the Court shall issue a single
     original summons in the name of "Ondway” and all other Defendants
         identified in the Complaint" that will apply to all Defendants.
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                        SO ORDERED.

               SIGNED this __ day of May, 2025

                    Pittsburgh, Pennsylvania

                        /s/ J Cathy Bisson

             UNITED STATES DISTRICT JUDGE
